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                            EXHIBIT 1
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  "                                                                        Pg 2 of 8


   Uni Sta BRup Cøuioid Di øfNew Yurt
   Le Brnthas Holdigs Cl PrcoiDg Cete                                                       LEHMAN SECURITIES PROGRAMS
   c/o F¡q'Ba Solution, UC                                                                        PROOF OF CLAIM
   FOR Slri, P,O. Box 5076 '
   New    Yo NYIOI5()506
   InRc
   LeBrnthas Holdigs In,.. al, Cue NO.,OB-13555 (JM)
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   Note: This form mav not be used to fii; claims other than those
   based 011 Lehman pi'o~rain5 Securitit:s as listi:d 011
   _as                                          of   July 17,::009                                     TH SPACE IS FOR COUR USE ONLY

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  UNTED STATES BANUPTCY COURT
  SOUTHERN DISTRCT OF NEW YORK
                                                                               -x
  In re                                                                                 Chapter 11

  LEHM BROTHERS HOLDINGS INC., et!b                                                     Case No. 08-13555 (JM)

                                                       Debtors.                        Jointly Administered
                                                                              --x

                     ANX A TO LEHM PROGRAS SECURS PROOF
                               OF CLAI OF KRISSl' ARSE HEINSBERG


             Kreissparkasse Heinsberg (the "ClâIant") files ths proof of clâI (the "Proof of


 ClâI") agai Lehman Brothers Holdigs Inc. ("LBHl' and, together with its afated
 debtors in the above-referenced chater 11 caes, the "Debtors") as a holder of cert

 Lehman Progr Securties (used herein thoughout as defied in the Cour's Order
 Put to Secton 502(b)(9) ofthe Banptcy Code, Banptcy                                           Rules 2012(a)(7), (f:, (l),

 and 3003(c)(3), and Local Rule 2002-I(e) Establishig Deadine for Filg Proofs of ClâIs


 and Approving the Form and Maner of                            Notice Thereof (the "Bar Date Order") (Docket No.

 4271)).

A. Backgound
            1. On September is, 2008 (the "Petition Date"), LBID commenced ths case by

filing a volunta petition for relief                    under chapter 11 of    title 11 of   the United States Code (the

"Banptcy Code"). On July 2, 2009, the Cour entered the Bar Date Order. The Bar Date

Order, among other thgs, established November 2, 2009, at 5:00 p.m. (prevaiing Easrn

Time) as the las date and tie for each person or entity to fie a proof of clâI based on

securties identified on the "Lehman Program Securties" list avaiable on
htt://ww.lehman-docket.comas of July 17,2009 (the "Lehman Programs Securties").




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  B. Nature of                the Claims

             2. The Claiant is a beneficial holder of Lehman Program Securties issued or


  guanteed by LBID. Set fort in Anex B are the Lehm Progr Securties held by the
  Clait organzed by (i) the amount owed to the Claiant (but see below)                                    in both Eurs and

  US Dollars (the lattr calculated using a an exchange Tate of$1.4l5llEuro as provided by the

  Eurpea Central Ban as of                     Septeber 15, 2008), (ü)an indication of                wheter such amount

 includes interest, (iü) the applicable International Securties Identification Nwnber ("ISIN),

 (iv) the related Euroclea Electnic Ins1rction Reference Nwnber, Cleaeam Blockig
 Reference Number, or other depository blockig reference number (as applicable, the

 "Blocking Number"), and (v) the relevant depository parcipant account number of each LPS

 Holder's respective depository accountholder.


            3. The Claiant clais al amounts owed to the Claiant by LBID in conne.ction

 with the Lehman Progrs Securties the Clait holds, whether or not such amount is

 reflected in the figues set fort in the Proof of                            Claim. As of   the Petition Date, LBID was and

 still is indebted to the Claimant for the followig amounts and for all other amounts wluch

have accred since the Petition Date, includig without litation postcpetition interest, fees

and costs:

            (a) pricipal, interest, and any unpaid fees owig under the Lehman Programs
Securties held;

           (b) fees and costs (includig without litation legal fees and expenses) incurd
in connection with recoverig on such Lehm Progras Securties to the extt allowable
under the Banptcy Code; and

           ( c) all other amounts due and payable under or arsing in connection with such
Lehman Program Securties, includig, without liitation, daes for breah, daages
caused by ac or omissions by LBID and its affliates, and/or any guanteed obligor and its
afiates, post-petition interest premums, fees, and costs to the extent allowable under the
Banptcy Code.




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              4. The amounts descnbed in pargraphs 3(a), 3(b) and 3(c) ar mad without

  prejudice to any other amounts accrug afr the Petition Date, or based upon facts and

  cicumstces discovered                   afr the Petition Date.


              S . Additionaly, the Claiant assert                    agait LBID unquidated clai for

  damges caused by, or based upon, (a) any liabilty LBID ha or may have ansing under or in

  connection with the Lehm Program Securties held, (b) any missttement or omission of a

  matenal fact in any securties                     figs and/or ficial sttements; (c) any wrongf act or

  misconduct commtted by LBHI (or the guanteed obligor) that has resute or will result,

  directly or indirectly, in injur to the Claiant, includig, without limtation, breach of any

 fiduciar or oiler duty tht LBID (and/or such guanteed obligor) may now owe or have

 ever owed to the Clait;                     and (d) frd or misrpresentation in connection with the sale of


 such Lehm Progrs Securties.
            6. The clais asserted herein are not subjec to any setoff or counterclai by the


 Debtors or the guanteed obligor. No judgment has been rendered on the clai asserted


 herein. The Claiant holds no securty interests in connection with, and has not received, any

 securty for, the clai asserted herein.


 C. Supportg Documentation

            7. The Bar Date Order provides that persons or entities that file clais based on

any Lehman Programs Securty need not atth or submit any documentation supportg any

claim based on such Lehman Programs Securty. Accordingly, no supporting documentation

is attched hereto. The Claimant ha authonzed Whte & Case LLP to file ths Proof of

Clai on its behalf. The power of attorney, which is included in and based on a madate


lettr has not been submittd because of confdentiality concern                  but is available upon request

by the Debtors or other appropnate par in interest.




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   D. Reservation of                  Rights and Aiendments
              8. In filing ths Proof of Clai the Clait does not submit itself to the

  jursdiction of the Cour for any purose other th to assert the clai descnbed, herein. To


  the extent such clais may also be assertd agait any other Debtor in these j ointly-

  admstred proceedigs under law                          or equity, includig but not lite to, in the event of the


  substative consolidation of some or all of the Debtors, ths Proof of Clai also constutes a

  clai by the Claimant agaist any and all such other Debtors. Additionay, any common law

 indemnty clais agait al s:uch Debtors are expressly preserved.


             9. The execution and fiing of ths Proof of Claim is not intended to be and

 should not be constred as (a) a waiver or release of any nghts of the Claiant agai any

 other entity or person liable for all or par of the clai asserted herein (b) a waiver of the

 nght of the Claiant to withdraw the reference with. respect to the subject mattr of the

 clais assert herein any objection or other proceedigs commenced with respect theret or


 any other proceeding commenced in these cases against or otherwse livolvigthe Clat,


 (t) an election of remedy by the Claiant tht waves or otherwse afect any other remedy

 of the Claiant, (d) a consent by the Claiant to a jur tral in the Cour or any other cour in


 any proceeding as to any and all matters so trable herein or in any case, controversy or

proceedig related hereto, pursuant to 28 U.S.C. § 157(e) or otherse, (e) a waiver of                         the

nght of the Claiant to a tral                     by jur in any proceedig so trable herein or in any case
controversy or proceeding related hereto, notwthtadig the designtion Or not of such

matters as "core proceedings" pursuant to 28 U.S.C. § l57(b)(2), and whether such jur tral


is pursut to statute or                 the United States Constution, (f) a waiver of the nght of the
Clait to have fi orders in non-ere mattrs entered only afer de novo review by a

Distrct Cour Judgment, (g) a waiver of any past, present or :ftu event of default under any

applicable credit documentation, (h) a statem.ent of all legal theones, causes of action or facts




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  supportg the clais of the Clait, (i) a waver or litation of any nghts, clai or
 causes of action by the Claiant, u) a waver of any nght to the subordintion or

 recharttention, in favor of                       the Claiant, of any indebteess or liens held by any creditors

 of the Debtors or creditors of any of the Debtors' ,afliates, or any gutee obligor or any

 afliate of such obligor, or (I) duplicative of or replacing any other proof of clai fied either


 by the Clait or by any inclentie tree or entityperfonng simar fuctons.
              10. The Claiant expreSsly reseres, and does not waive, any nght to amounts for


 any clais assered herein, and reserves all nghts, includig, without limtation, the nghts (a)

 to fie any        separte or additiona proof of elai with respect to the clais set fort herein or


 otherwse (wluch proof of clai, if so fied shal not be deemed to supersede ths proof of


 clai uness expressly so stated therein), (b) to amend, modi or supplement ths Proof of

 Clai in any respect, includig with respect to the fig of an additional or amended claim


 for the purose of fixig and liquidatig any contient or uniquidated clai set fort herein

 (c) to file additional proofs of clai in respect of additional amounts or for any other reason,

and (d) to file proofs of clai agait thd pares, includig, without limtation, any

afliates of         the Debtors or guanteed obligor.

              i L In the event that any order of                the Banptcy Cour is entered which effects (a)

a rechaacterition or subordition of clai, (b) siibstative cOnsolidation of any or all of

the Debtors with any or all of the Debtors and/or the Debtors' afliates, or (c) any other

simlar remedy, the rights of the Claiant to file additional proofs of clai or amende

proofs of clai agait any or all of the Debtors and any or all of the Debtors' afùiates is


reserved.




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        E. Noticl

                     12. Al notices in respect of      ths proof of clai should be forwarded to:


                                Kreissparkasse Heinberg
                                att. Udo-Mitsch
                                Hennan-Josef-Gorts-Str. 14-16
                                41812 Erke1enz
                                Germany
                                Ema Address:                udo.mitsch(ikh.de
                                Telephone Number:           +492431804490

                                Contact at Whte & Case:    Michal Rützl
                                                           (attorney-at-law (Rechtsanalt) in Germy)
                                Email Address:             mrtzl§whitecase.com
                                Telephone Number:          +4969299941626




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